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                                                                              FILED: June 14, 2018

                             UNITED STATES COURT OF APPEALS
                                 FOR THE FOURTH CIRCUIT

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                                            No. 18-1677
                                     (1:17-cv-00364-LMB-JFA)
                                       ___________________

 SHARYL THOMPSON ATTKINSON; JAMES HOWARD ATTKINSON; SARAH JUDITH
 STARR ATTKINSON

               Plaintiffs - Appellants

 v.

 ERIC HIMPTON HOLDER, JR., Individually; PATRICK R. DONAHOE, Individually;
 UNKNOWN NAMED AGENTS OF THE DEPARTMENT OF JUSTICE, In their individual
 capacities; UNKNOWN NAMED AGENTS OF THE UNITED STATES POSTAL SERVICE,
 In their individual capacities; UNKNOWN NAMED AGENTS OF THE UNITED STATES, In
 their individual capacities; FEDERAL BUREAU OF INVESTIGATION; MCI
 COMMUNICATIONS SERVICES, INC.; CELLCO PARTNERSHIP, d/b/a Verizon Wireless

               Defendants - Appellees


 This case has been opened on appeal.

  Originating Court             United States District Court for the Eastern District of Virginia
                                at Alexandria
  Originating Case Number       1:17-cv-00364-LMB-JFA
  Date notice of appeal filed
  in originating court:         06/14/2018
  Appellants                    SHARYL THOMPSON ATTKINSON; JAMES HOWARD
                                ATTKINSON; SARAH JUDITH STARR ATTKINSON

  Appellate Case Number         18-1677
  Case Manager                  Kirsten Hancock
                                804-916-2704
